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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 20-CIV-81205-RAR

  SECURITIES AND EXCHANGE
  COMMISSION,

          Plaintiff,

  v.

  COMPLETE BUSINESS SOLUTIONS
  GROUP, INC. d/b/a PAR FUNDING, et al.,

        Defendants.
  _______________________________/

               ORDER GRANTING RECEIVER RYAN K. STUMPHAUZER’S
             SECOND APPLICATION FOR ALLOWANCE AND PAYMENT OF
             PROFESSIONALS’ FEES AND REIMBURSEMENT OF EXPENSES
                    FOR OCTOBER 1, 2020 – DECEMBER 31, 2020

          THIS CAUSE comes before the Court upon Receiver Ryan K. Stumphauzer’s Second

  Application for Allowance and Payment of Professionals’ Fees and Reimbursement of Expenses

  for October 1, 2020 – December 31, 2020 [ECF No. 491] (“Application”), filed on February 16,

  2021.   The Court has reviewed the Application and is otherwise fully advised.

          This is a complex receivership involving the operation of a merchant cash advance business

  with a current receivable balance of over $400 million, and a group of investors that are seeking,

  collectively, more than $300 million dollars from the company.       The Application and records

  submitted by the Receiver reflect that the Receiver and his professional team have reasonably and

  diligently discharged their duties.   The Receiver’s tasks in this case have included obtaining

  access to and reviewing records, issuing subpoenas, responding to investor inquiries, investigating

  potential claims against third parties, overseeing the day-to-day operations of Par Funding through

  an operations consultant, assuming responsibilities over multiple commercial and residential

  properties with the assistance of a real estate management company, communicating with
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  merchants to resolve disputes regarding account balances, responding to issues related to pending

  litigation involving the receivership entities, communicating with the Defendants and responding

  to discovery requests, and drafting status reports for the Court.   In performing these tasks, among

  others, the Receiver and his professional team have provided a significant benefit to the

  receivership estate, investors, and creditors at rates that the Court finds reasonable.   Accordingly,

  it is hereby

          ORDERED AND ADJUDGED that the Application [ECF 491] is GRANTED as

  follows:

          Professional Fees      $2,228,194.00

          Expenses               $122,059.39

          TOTAL                  $2,350,253.39

          DONE AND ORDERED in Fort Lauderdale, Florida, this 19th day of February, 2021.



                                                            _________________________________
                                                            RODOLFO A. RUIZ II
                                                            UNITED STATES DISTRICT JUDGE




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